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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )      CRIMINAL ACTION NO.
                                   )        2:12cr104-MHT
PAUL HULSE, SR.,                   )             (WO)
STEVEN P. MOCK, and                )
FRANK J. TEERS                     )

                                  ORDER

        Based on the representations made on the record on

September 13, 2013, it is ORDERED as follows:

    (1) The government’s motion to continue (doc. no.

311) is granted.

    (2) Sentencing for all three defendants, now set for

October 9, 2013, is reset for November 25, 2013, at 10:00

a.m.,    in   the   Frank    M.     Johnson    Jr.    United     States

Courthouse Complex, Courtroom 2FMJ, One Church Street,

Montgomery, Alabama.

    (3) The government is to file its brief for each

defendant by October 28, 2013.            Each defendant is to file

his brief by November 12 2013.            The government is to file
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its replies by November 18, 2013.              Also each defendant

may file a cross-response to another defendant’s brief by

November 18, 2013.

    DONE, this the 16th day of September, 2013.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
